                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 LeANNE FEEHAN and JOHN FEEHAN,                       Case No. 15‐CV‐3853 (PJS/JSM)

        Plaintiffs,

 v.                                                                 ORDER

 WAL‐MART STORES, INC.,
 doing business as Walmart,

        Defendant.

       Katherine A. Brown Holmen, DUDLEY AND SMITH, P.A., for plaintiffs.

       Angela Beranek Brandt and Stephanie L. Chandler, LARSON KING, LLP,
       for defendant.

       Plaintiff LeAnne Feehan was standing in a checkout line at a Wal‐Mart store

when another customer ran into her with a motorized scooter that had been provided to

the customer by defendant Wal‐Mart Stores, Inc. (“Wal‐Mart”). Feehan and her

husband sued Wal‐Mart for negligence in a Minnesota state court. Wal‐Mart removed

the case to federal court on the basis of diversity jurisdiction.

       This matter is before the Court on the Feehans’ motion to remand the case to

state court and on Wal‐Mart’s motion to dismiss the case under Fed. R. Civ. P. 12(b)(6).

The Court conducted a hearing on the motions on January 4, 2016. For the reasons

given at the hearing and briefly summarized below, the Court denies the Feehans’

motion to remand and grants Wal‐Mart’s motion to dismiss.
                               I. MOTION TO REMAND

      As stated on the record at the hearing, the Court finds that diversity jurisdiction

exists over this action and that the case need not be remanded to state court. The

parties do not dispute diversity of citizenship, and two items of evidence establish that

the amount in controversy exceeds the $75,000 jurisdictional threshold:

      (1)    the allegations in the complaint about the grave nature of LeAnne’s

             injuries, including allegations that LeAnne was “severely and

             permanently injured,” “has suffered severe physical and emotional pain

             and disability,” has incurred and will in the future incur “medical

             expenses related to the care and treatment of her injuries,” and has lost

             wages because she “has been unable to perform her job duties as a

             surgical nurse” and “will likely be unable to work in that profession in the

             future,” ECF No. 1‐1 (Compl.) ¶¶ 12‐17; and

      (2)    the nine‐page, single‐space settlement demand sent by the Feehans’

             attorney to Wal‐Mart’s insurer that specifically describes the Feehans’

             damages as including medical expenses totaling $201,331.98, past lost

             wages of $96,897.60, and future lost wages of $547,292.00 (and that

             demands $500,000 to settle their claim), ECF No. 18‐1.




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       The Court therefore finds by a preponderance of the evidence that the amount in

controversy exceeds $75,000 and denies the Feehans’ motion to remand.

                                 II. MOTION TO DISMISS

       Wal‐Mart’s primary argument in support of its motion to dismiss is that it owed

no duty under Minnesota law to protect LeAnne from a third party (that is, the

customer on the scooter). The Court agrees with Wal‐Mart that, as a general matter,

Minnesota law does not impose a duty on merchants (or anyone else) to protect persons

from being injured by the acts of third parties, absent a special relationship.

See generally Delgado v. Lohmar, 289 N.W.2d 479, 483‐84 (Minn. 1979). But the Court does

not read the Feehans’ complaint to claim that Wal‐Mart is liable because it failed to

protect her from the negligent acts of the customer on the scooter. Rather, the complaint

alleges that Wal‐Mart itself acted negligently—and that Wal‐Mart’s own negligence

caused Feehan’s injuries—because Wal‐Mart “[1] allow[ed] customers to drive

motorized scooters around its stores without checking to see if drivers are capable,

[2] fail[ed] to provide proper instructions or training to drivers, and [3] fail[ed] to warn

its customers about the dangers caused by others driving motorized scooters in the

store . . . .” Compl. ¶ 11.

       Still, to survive a motion to dismiss under Rule 12(b)(6), a complaint must “state

a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570



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(2007). Although the factual allegations in the complaint need not be detailed, they

must be sufficient to “raise a right to relief above the speculative level . . . .” Id. at 555.

In assessing the sufficiency of the complaint, the Court may disregard legal conclusions

that are couched as factual allegations. See Ashcroft v. Iqbal, 556 U.S. 662, 678‐79 (2009).

The Court must, however, accept as true all of the factual allegations in the complaint

and draw all reasonable inferences in the plaintiff’s favor. See id. at 678.

       A negligence claim under Minnesota law requires a duty, a breach, an injury, and

causation. See, e.g., Doe 169 v. Brandon, 845 N.W.2d 174, 177 (Minn. 2014). The Feehans’

complaint fails to state a negligence claim because it fails to plausibly allege either a

breach of duty or causation:

       First, the Feehans allege that Wal‐Mart does not properly “check[]” or screen

customers before loaning them scooters, Compl. ¶ 11, but does not allege what

screening Wal‐Mart should have implemented or how such screening would have

prevented the accident. The closest the Feehans get is their assertion that the driver was

“an elderly woman” who “appeared to be in an unsound mental state.” Compl. ¶ 6.

But the Feehans do not allege that the unspecified “unsound mental state” would have

been detected by whatever screening Wal‐Mart was obligated to provide or that this

“unsound mental state” caused the customer to drive into LeAnne. Indeed, the Feehans




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conceded at oral argument that they have no idea why the other customer drove into

LeAnne.

        Second, the Feehans allege that Wal‐Mart does not “provide proper instruction

or training to drivers.” Compl. ¶ 11. But the Feehans do not allege what training Wal‐

Mart should have provided to the customer who hit LeAnne or how such training

would have prevented the accident. Given that the Feehans have no idea why the

customer hit LeAnne, the Feehans have no idea whether providing some unspecified

type of “training” would have prevented the accident.

        Finally, the Feehans allege that Wal‐Mart does not warn its customers of the

dangers posed by other customers driving motorized scooters. Compl. ¶ 11. But the

Feehans do not allege what warnings should have been given to LeAnne or how such

warnings would have made LeAnne act differently so as to prevent her from being

struck by the scooter. (She was, after all, struck while standing in line waiting to check

out.)

        In short, although the Feehans’ complaint alleges that Wal‐Mart should have

provided screening, training, and warnings, the complaint contains no specifics

whatsoever—either about the nature of the screening, training, or warnings, or about

how the absence of the screening, training, or warnings caused the accident. Indeed,

the complaint appears to reason backward, starting with LeAnne being struck by the



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scooter and assuming—without plausibly alleging—that some unspecified act or

omission of Wal‐Mart must have been negligent and must have caused the accident.

The Feehans’ complaint thus fails to allege a plausible claim and must be dismissed

under Rule 12(b)(6).

                                        ORDER

      Based on the foregoing, and on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED THAT:

      1.     The Feehans’ motion to remand to state court [ECF No. 9] is DENIED.

      2.     Wal‐Mart’s motion to dismiss [ECF No. 4] is GRANTED.

      3.     The complaint [ECF No. 1‐1] is DISMISSED WITHOUT PREJUDICE.

      LET JUDGMENT BE ENTERED ACCORDINGLY.


 Date: January 12, 2016                      s/Patrick J. Schiltz
                                             Patrick J. Schiltz
                                             United States District Judge




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